Case 2:05-cr-20019-SH|\/| Document 36 Filed 06/03/05 Page 1 of 2 Page|D 28

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IN THE UNITED sTATEs DISTRICT CoURT m
FoR THE WESTERN DISTRICT oF TENNESSEE!UH "’ P“ ‘2

WESTERN DIVISION 1111@1110
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`M 9 Cn`-- i€',’l “" F
UNITED STATES OF AMERICA,

Plaintiff, Case No.: 05-20019 D

V.

LAPEDRO FINLEY,

Defendant.

 

ORDER DENYING MOTION FOR RECONSIDERATION

 

Before the Court is Defendant’s motion for reconsideration of the Court’s order denying
Defendant’s motion to suppress Upon review of the motion, supporting case authority, and the
overall record, the Court finds that eause does not exist to grant relief.

Aceordingly, Defendant’ S motion is DENIED.

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BE NICE BOUIE DONALD
U ITED STATES DISTRICT JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

